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                                                                                     2008 Sep-02 PM 02:22
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA



          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION
DEBORAH B. BRUNO,                      )
            Plaintiff,                 )
vs.                                    )      CV 08-J-1156-S
ARROW FINANCIAL SERVICES,              )
LLC,
                                       )
            Defendant.
                                       )


                            ORDER OF DISMISSAL

      The parties having filed a joint stipulation for dismissal (doc. 6), and the

court having considered the same and the court being of the opinion that this case

should be dismissed;

      It is therefore ORDERED by the court that this action be and hereby is

DISMISSED WITH PREJUDICE, each party to bear its own costs.

      DONE and ORDERED this 2nd day of September 2008.



                                              INGE PRYTZ JOHNSON
                                              U.S. DISTRICT JUDGE
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